UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                        )
 In re:                                                 )
                                                        )   Case No. 23-12055-shl
 RUDOLPH W. GIULIANI                                    )   Chapter 11
 a/k/a RUDOLPH WILLIAM GIULIANI                         )
                                                        )
                                 Debtor                 )
                                                        )
                                                        )
                                                        )   Adversary Proceeding No.:
                                 Plaintiff              )
                          v.                            )
                                                        )
                                                        )
                                 Defendant              )
                                                        )

       I, Sven T. Nylen, request admission, pro hac vice, before the Honorable Sean H. Lane, to
represent SMARTMATIC USA CORP., SMARTMATIC INTERNATIONAL HOLDING B.V.,
and SGO CORPORATION LIMITED, creditors and interested parties in the above-referenced ☒
case ☐ adversary proceeding.

         I certify that I am a member in good standing of the bar in the State of Illinois and, if
applicable, the bar of the U.S. District Court for the Central, Northern and Southern Districts of
Illinois.

          I have submitted the filing fee of $200.00 with this motion for pro hac vice admission.

 Dated: January 5, 2024

 Chicago, Illinois                                  /s/ Sven T. Nylen
                                                    Sven T. Nylen
                                                    Benesch, Friedlander, Coplan & Aronoff LLP
                                                    71 South Wacker Drive, Suite 1600
                                                    Chicago, Illinois 60606-4637
                                                    Telephone: (312) 212-4949
                                                    Email: snylen@beneschlaw.com

                                                    Counsel to SMARTMATIC USA CORP.,
                                                    SMARTMATIC INTERNATIONAL HOLDING
                                                    B.V., and SGO CORPORATION LIMITED




23594766 v2
UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                       )
 In re:                                                )
                                                       )   Case No. 23-12055-shl
 RUDOLPH W. GIULIANI                                   )   Chapter 11
 a/k/a RUDOLPH WILLIAM GIULIANI                        )
                                                       )
                               Debtor                  )
                                                       )
                                                       )
                                                       )   Adversary Proceeding No.:
                                Plaintiff              )
                        v.                             )
                                                       )
                                                       )
                                Defendant              )
                                                       )

              ORDER GRANTING ADMISSION TO PRACTICE, PRO HAC VICE

          Upon the motion of Sven T. Nylen, to be admitted, pro hac vice, to represent
 SMARTMATIC USA CORP., SMARTMATIC INTERNATIONAL HOLDING B.V., and SGO
 CORPORATION LIMITED, (the “Clients”) creditors and interested parties in the above
 referenced ☒ case ☐ adversary proceeding, and upon the movant’s certification that the movant
 is a member in good standing of the bar in the State of Illinois and, if applicable, the bar of the
 U.S. District Court for the Central, Northern and Southern Districts of Illinois, it is hereby

          ORDERED, that Sven T. Nylen, is admitted to practice, pro hac vice, in the above
 referenced ☒ case ☐ adversary proceeding to represent the Clients, in the United States
 Bankruptcy Court for the Southern District of New York, provided that the filing fee has been
 paid.

 Dated:

                      , New York                /s/
                                                  UNITED STATES BANKRUPTCY JUDGE




23594766 v2
